
Conyngham, P. J.
The justice evidently intended to enter a regular judgment' against the plaintiff for costs. The defendant, as appears by the-transcript “claimed an off-set for the whole of the plaintiff’s demand,” and the justice says after hearing, &amp;c., “defendant’s off*535set allowed and plaintiff pay the costthus substantially entering judgment in favor of the defendant.
The justice so considered it also, by allowing the plaintiff to appeal. The intention is so manifest that the same on issue of a technical term in entering judgment would not justify us in dismissing the appeal, as the 4th Section of Act of March 20th, 1810, 5 Sm. Laws 164, requii es us to see “that no deficiency of form or substance in the record of the jiroceedings returned,” “shall prejudice either party in the Court to which the appeal shall be made.”
But we are not without an authority directly in point, to which, and the reasoning of the Court, there in the opinion we refer; see Kase vs. Best, 15 Pa. 101.
The rule in this case is discharged.
